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                                      #:780



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      Attorneys for defendants WHOLE
  8 FOODS MARKET SERVICES, INC.;
    WHOLE FOODS MARKET CALIFORNIA,
  9
    INC.; and MRS. GOOCH’S NATURAL FOOD
 10 MARKETS, INC.

 11                            UNITED STATES DISTRICT COURT
 12                       CENTRAL DISTRICT OF CALIFORNIA
 13 SARA SAFARI, PEYMON                          Case No. 8:22-cv-01562-JWH (KESx)
    KHAGHANI, on behalf of themselves
 14 and all others similarly situated, and       DEFENDANTS’ NOTICE OF
    FARM FORWARD, on behalf of the               MOTION AND MOTION TO
 15 general public,                              STAY
 16              Plaintiffs,                     Date:     July 11, 2023
                                                 Time:     10:00 A.M.
 17        v.                                    Place:    411 West Fourth Street
                                                           Courtroom 6D, 9th Floor
 18 WHOLE FOODS MARKET                                     Santa Ana, California 92701
      SERVICES, INC., a Delaware
 19 corporation, WHOLE FOODS                     The Honorable Karen E. Scott
    MARKET CALIFORNIA, INC., a
 20 California corporation, MRS. GOOCH’S         Complaint Filed:     August 23, 2022
    NATURAL FOOD MARKETS, INC.,                  Discovery Cutoff: Not Set
 21 doing business as Whole Foods Market,        Pretrial-Conference: Not Set
    a California Corporation,                    Trial Date:          Not Set
 22
                 Defendants.
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                                                                Case No. 8:22-CV-01562-JWH (KESx)
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                                                                    DEF.’S NTC. OF MTN TO STAY
Case 8:22-cv-01562-JWH-KES       Document 62        Filed 06/13/23    Page 2 of 3 Page ID
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  1                           NOTICE OF MOTION TO STAY
  2        TO THE HONORABLE COURT, ALL PARTIES AND THEIR COUNSEL
  3 OF RECORD:

  4        PLEASE TAKE NOTICE that on July 11, 2023 at 10:00 AM, or as soon
  5 thereafter as counsel may be heard in Courtroom 6D of the above-entitled Court,

  6 located in the United States District Court, 411 West 4th Street, Santa Ana,

  7 California, defendants Whole Foods Market California, Inc., Mrs. Gooch’s Natural

  8 Food Markets, Inc. and Whole Foods Market Services, Inc. (collectively

  9 “Defendants”), will and hereby move to stay discovery pursuant to Federal Rule of

 10 Civil Procedure 26(c) and Local Civil Rules 37-1 and 37-2 on the grounds that

 11 Defendants’ pending motion to dismiss the First Amended Complaint (“FAC”) of

 12 plaintiffs Sara Safari, Peymon Khaghani and Farm Forward (collectively

 13 “Plaintiffs”) will likely dispose of the current claims or, at the very least, narrow the

 14 issues to address through discovery under Plaintiffs’ FAC and any subsequent

 15 amended pleading. Continuing to push forward on discovery without knowing the

 16 scope of the potential claims, if any, that will survive Defendants’ pleadings

 17 challenges, unnecessarily burdens both parties by forcing them to engage in fact

 18 finding regarding issues and claims that may not survive the pleading stage. It will

 19 also burden the Court with resolving a number of discovery issues tied to the

 20 breadth and scope of Plaintiffs’ claims that will likely be resolved by its ruling on

 21 Defendants’ motion, thus posing the risk of potentially inconsistent rulings between

 22 this Court and the district court.

 23        This Motion is made following the conferences of counsel pursuant to Local
 24 Civil Rule 37-1 which took place on May 26, 2023, and is accompanied by a joint

 25 stipulation and supporting declarations pursuant to Local Civil Rule 37-2.

 26        This Motion is based upon this Notice of Motion and Motion, the Joint
 27 Stipulation, the accompanying Declarations of Erin Keefe, David Adams, and

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                                              -1-                    Case No. 8:22-CV-01562-JWH (KESx)
                                                                         DEF.’S NTC. OF MTN TO STAY
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  1 Gretchen Elsner, all other pleadings, papers, records and documentary materials on

  2 file in this action, and such further evidence and argument as the Court may allow at

  3 the hearing on this Motion.

  4 Dated: June 12, 2023                    BLAXTER | BLACKMAN LLP
  5

  6                                   By:
                                                     /s/ David P. Adams
  7                                               BRIAN R. BLACKMAN
  8
                                                       ERIN W. KEEFE
                                                     DAVID P. ADAMS
  9                                                 Attorneys for Defendant
                                             WHOLE FOODS MARKET SERVICES,
 10                                            INC.; WHOLE FOODS MARKET
                                             CALIFORNIA, INC.; MRS. GOOCH’S
 11                                           NATURAL FOOD MARKETS, INC.

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                                                                       DEF.’S NTC. OF MTN TO STAY
